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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

                   SANDI ROPER, Individually and on             Case No. 2:17-cv-Ol 106-ES-MAH
                   Behalf of All Others Similarly Situated,
                                                                [iOPD] ORDER
                                                   Plaintiff,   GRANTING MOTION OF THE
                                                                RED OAK FUNDS FOR
                   v.                                           APPOINTMENT OF LEAD
                                                                PLAINTIFF AND APPROVAL
                   SITO MOBILE LTD., JERRY HUG,                 OF SELECTION OF COUNSEL
                   and KURT STREAMS,
                                                                MOTION DATE: May 15, 2017
                                               Defendants.

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                        Having considered the papers filed in support of th’ Motion of the Red Oak

                  Fund, LP, The Red Oak Long Fund LP, The Red Oak Institutional Founders Long

                  Fund, and Pinnacle Opportunities Fund, LP (collectively, “Movants” or “Red Oak

                  Funds”) for Appointment as Lead Plaintiff, and Approval of Selection of Counsel

                  pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15
                                                                                     0 &             rQ
                  U.S.C. § 78u-4(a)(3)(B) (the “Motion”), and for good cause shownthe Court hereby cctcS
                                                                                                    tLQS5
                  enters the followmg Order:

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          I.        APPOINTMENT OF LEA]) PLAINTIFF AND LEA]) COUNSEL

               1.     The Red Oak Funds have moved this Court to be appointed as Lead

       Plaintiff in the above-captioned action (“Action”) and to approve the counsel they

       retained to be Lead Counsel.

               2.     Having considered the provisions of Section 21D(a)(3)(B) of the

       PSLRA, 15 U.S.C.     § 78u-4(a)(3)(B), the Court hereby determines that the Red Oak
       Funds are the most adequate plaintiff and satisfies the requirements of the

       PSLRA. The Court hereby appoints the Red Oak Funds as Lead Plaintiffto represent

       the interests of the class.

               3.     Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, 15 U.S.C.      § 78u-
       4(a)(3)(B)(v), the Red Oak Funds have selected and retained the law firm Levi &

       Korsinsky LLP to serve as Lead Counsel. The Court approves the Red Oak Funds’

       selection of Lead Counsel for the Action.

               4.     Lead Counsel shall have the following responsibilities and duties, to be

       carried out either personally or through counsel whom Lead Counsel shall designate:

                      a.    to coordinate the briefmg and argument of any and all motions;

                      b.    to coordinate the conduct of any and all discovery proceedings;

                      c.    to coordinate the examination of any and all witnesses in

       depositions;




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                d.    to coordinate the selection of counsel to act as spokesperson at

  all pretrial conferences;

                e.    to call meetings of the plaintiffs’ counsel as they deem necessary

  and appropriate from time to time;

                f.    to coordinate all settlement negotiations with counsel for

  defendants;

                g.    to coordinate and direct the pretrial discovery proceedings and

  the preparation for trial and the trial of this matter, and to delegate work

  responsibilities to selected counsel as may be required;

                h.    to coordinate the preparation and filings of all pleadings; and

                i.    to supervise all other matters concerning the prosecution or

  resolution of the Action.

        5.      No motion, discovery request, or other pretrial proceedings shall be

  initiated or filed by any plaintiffs without the approval of Lead Counsel, so as to

  prevent duplicative pleadings or discovery by plaintiffs. No settlement negotiations

  shall be conducted without the approval of the Lead Counsel.

        6.      Service upon any plaintiff of all pleadings in the Action, except those

  specifically addressed to a plaintiff other than Lead Plaintiff, shall be completed

  upon service of Lead Counsel.




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          7.     Lead Counsel shall be the contact between plaintiffs’ counsel and

  defendants’ counsel, as well as the spokespersons for all plaintiffs’ counsel, and shall

  direct and coordinate the activities of plaintiffs’ counsel. Lead Counsel shall be the

  contact between the Court and plaintiffs and their counsel.

     IL        NEWLY FILED OR TRANSFERRED ACTIONS

          8.     When a case that arises out of the subject matter of this action is

  hereinafter filed in this Court or transferred from another Court, the Clerk of this

  Court shall:

                 a.    file a copy of this Order in the separate file for such action;

                 b.    mail a copy of this Order to the attorneys for the plaintiff(s) in

  the newly filed or transferred case and to any new defendant(s) in the newly filed or

  transferred case; and

                 c.    make the appropriate entry on the docket for this action.

          9.     Each new case that arises out of the subject matter of the action that is

  filed in this Court or transferred to this Court shall be consolidated with the Action

  and this Order shall apply thereto, unless a party objecting to this Order or any

  provision of this Order shall, within ten (10) days after the date upon which a copy

  of this Order is served on counsel for such party, file an application for relief from

  this Order or any provision herein and this Court deems it appropriate to grant such

  application.

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         10.   During the pendency of this litigation, or until further order of this

  Court, the parties shall take reasonable steps to preserve all documents within their

  possession, custody or control, including computer-generated and stored

  information and materials such as computerized data and electronic mail, containing

  information that is relevant to or which may lead to the discovery of information

  relevant to the subject matter of the pending litigation.

         IT IS SO ORDERED

   Dated:
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                                                 Umted States istrict Judge




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